                              NO. 07-11-00099-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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MARCH 28, 2012
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                        DAVID LEE RODRIGUEZ, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                 FROM THE 121ST DISTRICT COURT OF TERRY COUNTY;
                                       
                   NO. 6056; HONORABLE KELLY G. MOORE, JUDGE
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
	Appellant, David Lee Rodriguez, was convicted of the offense of escape enhanced by a finding of true of two prior felony convictions.  Appellant was sentenced to serve a term of confinement of 70 years in the Institutional Division of the Texas Department of Corrections.  Appellant filed a notice of appeal.  We affirm.
Appellants attorney has filed an Anders brief and a motion to withdraw.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967).  In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial courts judgment.  Additionally, counsel has certified that he has provided appellant a copy of the Anders brief and motion to withdraw and appropriately advised appellant of his right to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The Court has also advised appellant of his right to file a pro se response.  Appellant has filed a response.  By his Anders brief, counsel reviewed all grounds that could possibly support an appeal, but concludes the appeal is frivolous.  We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We have found no such arguable grounds and agree with counsel that the appeal is frivolous.
Appellant contends that he received ineffective assistance of counsel.  As to appellant's contentions of ineffective assistance of counsel, the record does not support them and they are frivolous.  See Salinas v. State, 163 S.W.3d 734, 740 (Tex.Crim.App. 2005).
Accordingly, counsels motion to withdraw is hereby granted and the trial courts judgment is affirmed.

								Mackey K. Hancock
									Justice

Do not publish.  

